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 5
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 8                           UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10

11   MIGUEL HERNANDEZ,
                                               Case No.: 2:21-cv-02290 FMO (Ex)
12              Plaintiff,
                                               Assigned to Hon. Fernando M. Olguin
13        vs.
14                                            JOINT STIPULATION FOR
   METROPOLITAN LIFE INSURANCE                DISMISSAL PURSUANT TO
15 COMPANY; J.P. MORGAN CHASE                 FEDERAL RULE OF CIVIL
                                              PROCEDURE 41(a)(1)(A)(ii)
16
   NATIONAL CORPORATE
   SERVICES, INC.; and DOES 1 to 10,
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18              Defendants.
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                        JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
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 1         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,
 2   Attorneys for Plaintiff MIGUEL HERNANDEZ (“Plaintiff”) and Defendant J.P.
 3   MORGAN CHASE NATIONAL CORPORATE SERVICES, INC., stipulate and
 4   jointly request that this Court dismiss, with prejudice, the above-captioned action, in
 5   its entirety. Each party shall bear their own costs and attorneys’ fees.
 6                                             Respectfully submitted,
 7

 8   DATED: October 22, 2021          SO. CAL. EQUAL ACCESS GROUP
 9
10                                    By:        /s/ Jason J. Kim
                                               Jason J. Kim
11
                                               Attorneys for Plaintiff
12

13

14   Dated: October 22, 2021                   JEFFER, MANGELS, BUTLER &
                                               MITCHELL LLP
15
                                               MARTIN H. ORLICK
16                                             STUART K. TUBIS
17
                                      By:             /s/ Stuart K. Tubis
18
                                               Stuart K. Tubis
19                                             Attorneys for Defendant
                                               J.P. MORGAN CHASE NATIONAL
20
                                               CORPORATE SERVICES, INC.
21

22
                    Certification Pursuant to Local Rule 5-4.3.4(a)(2)(i)
23         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, Jason J. Kim, do attest that all
24   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
25   content and have authorized the filing.
26
     Dated: October 22, 2021                      By: /s/ Jason J. Kim
27
                                                      Jason J. Kim
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                         JOINT STIPULATION FOR DEFENDANT WITH PREJUDICE
